              Case 2:20-cv-01213-TSZ Document 9 Filed 11/09/20 Page 1 of 3




1                                                                Honorable Thomas S. Zilly
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7                         UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
8
                                      AT SEATTLE
9
10
       MUSSE BAHTA,                                  NO. C20-1213-TSZ
11
                               Plaintiff,
12
13                        v.                         STIPULATION FOR ORDER OF
                                                     DISMISSAL
14
15    CHAD WOLF, Acting Secretary of
      the Department of Homeland
16    Security; KENNETH T.
      CUCCINELLI, Senior Official
17
      Performing Duties of the Director,
18    U.S. Citizenship and Immigration
      Services (USCIS); ROBERT
19    COWAN, Director of the National
20    Benefits Center, USCIS; PHILLIP
      SLATTERY, Director of the National
21    Visa Center (NVC), Department of
      State; U.S. CITIZENSHIP AND
22    IMMIGRATION SERVICES,
23
                               Defendants.
24
25
26
     The parties hereby stipulate and agree as follows:
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28

      STIPULATION FOR ORDER OF DISMISSAL                                UNITED STATES ATTORNEY
                                                                        1201 PACIFIC AVENUE, SUITE 700
      No. C20-1213-TSZ - 1
                                                                         TACOMA, WASHINGTON 98402
                                                                                (253) 428-3800
              Case 2:20-cv-01213-TSZ Document 9 Filed 11/09/20 Page 2 of 3




1         This matter is now moot as to Defendants Chad Wolf, Kenneth T. Cuccinelli, Robert
2 Cowan, and U.S. Citizenship and Immigration Services (collectively, “USCIS and DHS
3 Defendants”). The matter may be dismissed without prejudice as to USCIS and DHS
4 Defendants and without costs or fees to any party.
  /
5
        Respectfully submitted and presented this 4th day of November, 2020.
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7
                                                  BRIAN T. MORAN
8                                                 United States Attorney
     /s/ Bart Klein
9
     BART KLEIN, WSBA #10909
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     605 1st Ave, Ste 500                         PATRICIA D. GUGIN, WSBA #43458
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15                                                E-mail: pat.gugin@usdoj.gov

16                                               Attorneys for Defendants
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                                                                       TACOMA, WASHINGTON 98402
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            Case 2:20-cv-01213-TSZ Document 9 Filed 11/09/20 Page 3 of 3




 1
                                            ORDER
 2
 3
          IT IS SO ORDERED.
 4
          Dated this 9th day of November, 2020.
 5
 6
                                                  A
                                            THOMAS S. ZILLY
 7                                          United States District Judge

 8 Presented by:
 9
    /s/ Bart Klein
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11 Law Offices of Bart Klein
    605 1st Ave, Ste 500
12 Seattle , WA 98104
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    United States Attorney
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    Attorneys for Defendants
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